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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                  )
                                                           )               8:07CR155
                         Plaintiff,                        )
                                                           )
        vs.                                                )                ORDER
                                                           )
PRISCILLA FIELDS,                                          )
                                                           )
                         Defendant.                        )



        This matter is before the court on the motion to continue by defendant Priscilla Fields (Fields)

(Filing No. 15). The motion was held in abeyance pending the filing of an affidavit by Fields (Filing No. 17).

Fields filed such an affidavit on May 25, 2007, wherein she consents to the motion and acknowledges she

understands the additional time may be excludable time for the purposes of the Speedy Trial Act (Filing

No. 27). Fields seeks an extension of the pretrial motion deadline set forth in the progression order (Filing

No. 11). Fields' counsel represents that counsel for the government has no objection to the motion. Upon

consideration, the motion will be granted.

        IT IS ORDERED:

        1.      Fields' motion to extend the pretrial motion deadline (Filing No. 15) is granted.

        2.      Fields is given until on or before June 14, 2007, in which to file pretrial motions pursuant

to the progression order. The ends of justice have been served by granting such motion and outweigh the

interests of the public and the defendant in a speedy trial. The additional time arising as a result of the

granting of the motion, i.e., the time between May 29, 2007 and June 14, 2007, shall be deemed

excludable time in any computation of time under the requirement of the Speedy Trial Act for the reason

that defendant's counsel requires additional time to adequately prepare the case. The failure to grant

additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).



        DATED this 29th day of May, 2007.

                                                           BY THE COURT:


                                                           s/ Thomas D. Thalken
                                                           United States Magistrate Judge
